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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 1:21-CR-00725 (MAU)
       v.                                    :
                                             :
JARED SAMUEL KASTNER,                        :
                                             :
               Defendant.                    :


             GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION
              FOR A 45-DAY CONTINUANCE TO REPORT TO PRISON

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully opposes Defendant Jared Kastner’s Motion to Delay his

Report Date, ECF No. 214.

       On April 12, 2024, Kastner was convicted at trial of violations of 18 U.S.C §§ 1752(a)(1)

and (a)(2), and 40 U.S.C. §§ 5104(e)(2)(D) and (2)(G). Minute Entry, April 12, 2024. On

October 23, 2024, the Court sentenced Kastner to, among other penalties, a term of incarceration

of five months followed by one year of supervised release. Following imposition of the sentence,

on December 4, 2024, Kastner was instructed by the U.S. Probation Office to report to

Metropolitan Correctional Center (“MCC”) Chicago on December 23, 2024, to begin serving his

sentence. On December 10, 2024, the defendant moved to delay his reporting date. ECF No. 214.

The Court should deny this request.

       The defense requests that the Court delay Kastner’s self-surrender date by 45 days. Id.

That request is unsupported. Kastner cites his family’s financial circumstances, childcare, and

holiday preparations as reasons for delaying his report date to the U.S. Bureau of Prisons. Id. The

defendant characterizes his report date as an “ancillary punishment,” which would result in

“emotion distress,” “torment,” and “emotional pain.” Id. However, the defendant points to no
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caselaw or legal authority in support of the relief sought.         The U.S. Probation Office, in

coordination with the U.S. Bureau of Prisons—not the Court or the undersigned—determined a

report date for the defendant in the normal course. At the time of the defendant’s scheduled report

date, the defendant will have had a reasonable amount of time of two months to arrange for

childcare and conclude his financial affairs in order to begin his term of incarceration.

       Kastner’s arguments regarding a delay in reporting due to the forthcoming holidays are

unpersuasive. In United States v. Alexander Sheppard, Judge Bates denied a similar motion where

January 6 defendant Sheppard requested to delay self-surrender to the U.S. Bureau of Prisons to

spend time with his family during the holidays. 21-cr-203-JDB, 2023 WL 6847010, at *2 (Oct.

17, 2023) (slip opinion). Like Kastner, Sheppard was found guilty following a jury trial, which

concluded on January 26, 2023. Id. at *1. Sheppard was sentenced on September 5, 2023, to

19 months’ incarceration followed by 24 months’ supervised release. Id. Judge Bates allowed

Sheppard to voluntarily surrender to the U.S. Bureau of Prisons, and Sheppard was subsequently

given a self-report date of November 2, 2023—approximately two months after his sentencing, as

in Kastner’s case. Id. In denying Sheppard’s motion to delay self-surrender, Judge Bates opined,

“The sentencing factors set forth at 18 U.S.C. § 3553(a) require the Court to impose a sentence

that ‘promote[s] respect for the law’ and ‘afford[s] adequate deterrence to criminal conduct’…

A lengthy delay from conviction to incarceration tends to contravene those principles by severing

liability from punishment for the offense. The Court is concerned that if Sheppard's motion were

granted, it would be a long time—eleven months from conviction and four months from

sentencing—before he began serving his sentence.” Id. Likewise, granting Kastner’s motion

would result in a report date ten months from his date of conviction and four months from his

sentencing date. Judge Bates further explained, “Such a delay does not promote respect for the



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law and may undercut the deterrent effect of the sentence for Sheppard, who has not shown any

meaningful remorse for his actions.” Id. As this Court noted at sentencing, defendant Kastner has

similarly not demonstrated remorse or regret with respect to his conduct, and further delay of the

defendant’s self-report date would undercut the seriousness of the Court’s sentence. Judge Bates

acknowledged “the difficulty of spending the holidays in prison” but concluded “…this

consideration alone does not justify delay. If it did, no defendant could be required to report from

November to January.” Id. Judge Bates recognized defendant Sheppard’s “strong family support,”

and anticipated that Sheppard’s family would “find ways to support him during his period of

incarceration and upon release.” Id. at *2. Likewise, defendant Kastner has strong family support,

as demonstrated through interviews with the U.S. Probation Office. See Final Presentence

Investigation Report, ECF 201 at 15-16 (“The defendant has the family’s support”). The Court

should deny Kastner’s motion to delay self-surrender for the same reasons articulated by Judge

Bates in Sheppard.

        At the conclusion of the defendant’s motion, the defense references notice of Kastner’s

appeal but does not move for release pending the outcome of appellate proceedings pursuant to

18 U.S.C. § 3143(b)(1). Thus, the Court should not consider the defendant’s appeal as a basis for

the relief sought.

        Finally, the government suspects that the defendant may believe he will receive a pardon

at an unspecified date and, consequently, prefers not to start his prison sentence as scheduled.

Following the defendant’s sentencing, Kastner was interviewed by the news media regarding his

expectation of a pardon. 1 Kastner was quoted, stating, “I was first charged on December 6th of




1
  See https://spectrumnews1.com/oh/columbus/news/2024/11/19/january-6-riots-capitol-pardon,
last visited December 10, 2024.
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2021, my trial got delayed and I was finally convicted in April and then I was sentenced in October,

I was sentenced to five months incarceration and I am waiting [for] a report to jail date…

I remember [president-elect Trump] saying that he would pardon January 6thers on day one.” Id.

The article goes on to state, “Kastner is hopeful that he will not have to report to jail, and that he’ll

be granted a pardon when President-elect Donald Trump takes office in January.” Id. Notably,

the timing of a speculative pardon is consistent with the defendant’s request for a 45-day delay in

reporting to serve his sentence. ECF No. 214.

        The criminal justice system cannot operate on uncertainty. Indeed, it is neither the Court’s

role or function to speculate about the president-elect’s pardon decisions, nor is it appropriate for

the Court to halt the normal functioning of criminal procedure based solely on that speculation.

While the Court undoubtedly possesses some inherent authority to delay a defendant’s prompt

reporting date for logistical reasons or other good cause, 2 the defendant has not shown good

cause here.

        The defendant in this case was found guilty and the Court imposed a sentence that it

determined was sufficient, but not greater than necessary, to comply with the purposes of the law.

See 18 U.S.C. § 3553(a). There is a societal interest in the prompt and efficient administration of

justice. The government and the Court have endeavored to deliver that interest. The jury has

rendered its verdict in this case, and the Court pronounced a sentence, and the government

respectfully believes there is no basis to delay the application of that sentence. Further, the

defendant should not be spared from the normal course of criminal procedure based on any




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 See United States v. Roskovski, No. 2:19-cr-106 - 1, 2021 U.S. Dist. LEXIS 149198, at *2
(W.D. Pa. Aug. 9, 2021) (“Inherent in the authority to allow a defendant the opportunity to
voluntarily surrender to the BOP to begin serving a sentence is the authority to delay the date on
which a sentence may commence for good cause and within reasonable limits.”)
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speculative hopes and desires that he may later benefit from a potential pardon. Because the

defense has not cited good cause to delay the defendant’s report date, the Court should order the

defendant to promptly report, consistent with other similarly situated defendants in this Court and

directives from the U.S. Bureau of Prisons.

                                      Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052

                                      By:            /s/ Will N. Widman
                                                     WILL N. WIDMAN
                                                     NC Bar No. 48158
                                                     Trial Attorney
                                                     United States Attorney’s Office
                                                     601 D Street, N.W.
                                                     Washington, DC 20530
                                                     Phone: (202) 353-8611
                                                     Email: Will.Widman@usdoj.gov




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